     Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 1 of 6




                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00040-TNM
                                 )
PATRICK EDWARD MCCAUGHEY,        )
III                              )
                                 )
               Defendant         )
                                 )



         ATTORNEY RYAN MARSHALL’S RESPONSE TO COURT’S
                 ORDER TO SHOW CAUSE INQUIRY




                                     1
             Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 2 of 6




           Attorney Ryan Marshall, counsel of record for Defendant David Mehaffie, submits this

response to this Honorable Court’s Order to Show Cause with regard to Attorney Marshall’s pro

hac vice status in this case.

           Mr. Marshall is admitted to practice law in the state of California as a “Provisionally

Licensed Attorney.” The California State Bar created this alternative pathway to admission to

practice in California in response to the COVID-19 Pandemic. This pathway allowed law school

graduates to earned admission to the Bar without the sitting for the bar examination which were

not offered during the pandemic.

           The attached images come directly from the State Bar of California’s website.1




1   https://apps.calbar.ca.gov/provisional/


                                                    2
            Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 3 of 6




The following passages can be found on the State Bar of California’s website.

           What a provisionally licensed lawyer can do
           Provisionally licensed lawyers are allowed to engage in all of the same activities
           that a fully licensed lawyer is permitted to engage in, under their supervising
           lawyer's supervision and subject to certain restrictions. Both the provisionally
           licensed lawyer and their supervising lawyer are expected to abide by all
           applicable State Bar rules and guidelines and are bound by the disciplinary
           authority of the California Supreme Court and the State Bar. 2

           What professional services can a provisionally licensed lawyer (PLL) provide?
           • Under Rule 9.49, a provisionally licensed lawyer is allowed to provide a broad
           array of legal services for clients, including appearing before a court, drafting
           legal documents, contracts or transactional documents, and pleadings, engaging in
           negotiations and settlement discussions, and providing other legal advice,
           provided that the work is performed under the supervision of a qualifying
           supervising lawyer. Unlike other states that adopted provisional licensure
           programs, the limits on what a provisionally licensed lawyer can do, or what
           needs to be done under direct versus general supervision, are largely left to the
           supervising attorney to determine the readiness of the provisionally licensed
           lawyer. 3




2   https://www.calbar.ca.gov/Admissions/Special-Admissions/Provisionally-Licensed-Lawyers
3   https://www.calbar.ca.gov/Portals/0/documents/admissions/Provisional-License-FAQs.pdf


                                                        3
         Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 4 of 6




       Mr. Marshall’s application to appear pro hac vice in this matter arose when Mr. Marshall

was asked by then sole counsel of record John Pierce to make an in-person conference

appearance on December 16, 2021 for a status conference. Mr. Pierce told Mr. Marshall that he

would contact this Court’s chambers to ensure that Mr. Marshall would be able to submit a

motion to appear pro hac vice in this matter based on his provisional license status. Thereafter

Mr. Pierce informed Mr. Marshall that such admission was allowed and that he would have the

pro hac vice application prepared and filed. After Mr. Marshall’s admission pro hac vice was

granted, Mr. Marshall attended the single in person conference status conference before this

Court on December 17, 2021, relaying to the Court and the Government information that Mr.

Pierce had provided to him about the status of the case.

       Mr. Shipley later became counsel of record along with Mr. Pierce, and Mr. Marshall has

worked under the direct supervision of Mr. Shipley with respect to all aspects of his involvement

in Mr. Mehaffie’s defense.

       With regard to the matters pending in Fayette County, Pennsylvania, Mr. Marshall has

undertaken a series of steps to have that matter dismissed based on the misconduct of the District

Attorney. The allegations arise out of a period during which Mr. Marshall worked as a judicial

clerk to one of the Court of Common Pleas Judges of Fayette County.

       There is strong evidence that the District Attorney’s conduct has been for no other

purpose than to interfere with Mr. Marshall’s ability to finalize his licensing to practice law.

       Since the charges have been filed, Mr. Marshall has exhausted nearly every possible

remedy to move the case forward or have it dismissed. In response the District Attorney has

ignored multiple Orders of the Pennsylvania Court where the case is pending. A few examples

are as followed:




                                                  4
             Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 5 of 6




       1. The DA’s Office filed a criminal complaint against Mr. Marshall that does not even
          allege facts in support of the code violations that are listed.

       2. The DA’s Office failed to provide timely discovery regarding the crimes alleged, and
          then ignored a court order compelling his office to provide Mr. Marshall with all
          discovery relating to the charged offenses no later than October 11, 2021. 4

       3. The DA’s Office failed to respond to Mr. Marshall’s motion to dismiss filed on or about
          November 7, 2021.

       4. The DA’s Office filed a motion to recuse itself from the prosecution (at the request of
          Mr. Marshall) the day before a hearing on Mr. Marshall’s motion to dismiss, which was
          calendared roughly three months in advance. The DA requested the Pennsylvania
          Attorney General take over the case.

       5. After the Attorney General’s Office declined to pursue the case, the DA’s Office took
          back over the prosecution, still not having provided discovery or responding to the
          pending motion to dismiss.

       6. At the most recent hearing in June, Mr. Marshall was offered a misdemeanor plea
          disposition involving a 3-month suspended sentence, followed by a withdrawal of all
          charges and an expungement of Mr. Marshall’s record after 90 days. The DA’s Office
          offered to allow Mr. Marshall to select the charge so that it would be one that a guilty
          plea would not result in a disqualification from Bar membership based on character and
          fitness.

           Mr. Marshall has a court appearance scheduled for later this month where the hearing

will be heard on his motion to dismiss, or where Mr. Marshall will enter a change of plea to a

petty misdemeanor as a resolution of the matter.

           Finally, the State Bar of California has been made aware of the ongoing matter of this

case. Such information was provided when Mr. Marshall applied for his license as a

Provisionally Licensed Attorney. During such time while this case was pending, the State Bar of

California granted Mr. Marshall his Provisional License and has been kept apprised of the since

granting such license. The Bar is awaiting the disposition of the case in which time it will move

forward and finalize Mr. Marshall’s Character and Fitness application.



4   To date—Mr. Marshall still has not received any form of discovery.


                                                           5
        Case 1:21-cr-00040-TNM Document 371 Filed 07/15/22 Page 6 of 6




Dated: July 15, 2022                      Respectfully submitted,

                                          /s/ Ryan Joseph-Gene Marshall
                                          Ryan Joseph-Gene Marshall, Esq.
                                          Provisionally Licensed Lawyer
                                          California PL Bar # 560767
                                          Tel: (424) 285-4943
                                          Email: ryan9374@gmail.com

                                          Attorney for Defendant




                                      6
